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WESTERN DISTRICT oF TENNESSEE 93 JUH ~7 pH ;?.

 

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Robert R. Di Tmh`a, (.`lr:rk n :Hd"%ic£§uty-in-Clmrge
242 Fedr.'ra[ But'ldr'ng U.S. Cmrrihouse, Raom 262
167 N. Main Street 111 Som‘h Highland Avem¢e
Mcmph:'s, Tennessee 38103 .Iackson, Tennessee 38301
(90}) 495-1200 (731) 421-9200

 

NOTICE OF SETTING
Before .Iudge S. Thomas Anderson, United States Magistrate Judge

 

.Iune 7, 2005

RE: 2:05cv2301-Ml/A
Gator Freightways, Inc. v. Doro Motors, Inc.

Dcar Sir/Madam:

A SCHEDULING CONFERENCE pursuant 10 Rule 16(b) ofthe Fedcrai Ru]es of Civil
Procedure has been SET on WEDNESDAY, JULY 27, 2005 at 10:00 A.M. in the Magistrate’s
Chambers, Room 934, on the 9"' floor of the Federal Building, Memphis, Tennessee, before
Magistrate Judge S. Thomas Anderson. Plcase see attached lnstructions and Model Scheduling
Ordcr.

Please submit ajoint proposed Scheduling Order prepared according to the attached Modei
Scheduling Order (with no deletions or additions Without prior approval from the Cour’t) to Judge
Anderson’s chambers by MONDAY, JULY 18, 2005.

If the proposed Scheduifng Order is approved, it will be entered, a copy will be sent to you and you
will not be required to attend !he Scheduling Conference. If the proposed Sclzedul£ng 0¢~der is not rimer
sub.'m'tted or is not approved the Scheduh'ng Conference may be re-set and you may be required to appear
in person.

If you have any questions, please contact Phyllis Holmes, Secretary to Magistrate J udge
S. Thomas Anderson at 731-421-9273.

' cerely,

 
  

 

J eph P. Warren, Case Manager
Attachment

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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

**~k, )
)
Plaintiff, )
)

v ) NO
)
in£'¥r, )
)
Del`endant. )

 

RULE 16(1)) sCHEDULING 0RI)ER

 

 

Pursuant to the scheduling conference set by written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(])):
No later than 14 days after the date set for the Scheduling Conference unless a later date
is authorized by the Court due to special circumstances

JOINING PARTIES:

for Plaintiff: Within 2 months after scheduling conference
for Defendant; Within 3 months after scheduling conference

AMENDING PLEADINGS.'

for Plaintiff: Within 2 months after scheduling conference
for Defendant: Within 3 months after scheduling conference

COMPLETING ALL DISCOVERY: Within 6 to 8 months after scheduling
conference

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: Within 6 to 8 months after
scheduling conference

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(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintift"s Experts: No later than 2 months before close of discovery
(ii) Defendant’s Experts: No later than 1 month before close of discovery
(iii) Supplementation under Rule 26(e): 10 days after Defendant’s
disclosure

(c) DEPOSITIONS OF EXPERTS: Same as discovery deadline unless
a later date is authorized by the Court
due to special circumstances

FILING DISPOSITIVE MOTIONS: Within l month after close of discovery
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last days. The presiding judge will set this
matter for NON-JURY/JURY TRIAL. In the event the parties are unable to agree on a joint
pretrial order, the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discoveryl For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion ofdiscovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection Which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certiiicate of Consultation.

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The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

Tlie parties ore encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discovey_g.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

 

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date:

 

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Office of the Clerk

 

INSTRUCTIONS CONCERNING
RULE 16(b) SCHEDULING CONFERENCE

 

i. DUTY TO NOTIFY

Plaintiff"s counsel is unable to notify the Defendant[s] or defendant[s]’ counsel, then Plaintiff’s
counsel shall, at least two (2) working days prior to the scheduled Rule IG(b) Conference, so
notify the Court.

ii. DUTY TO CONFER

Prior to the Scheduling Conference, counsel are required to consult regarding
schedules for completion of discovery, filing of motions, tn'al and pretrial activities and other
matters addressed in these instructions

iii . ATTENDANCE

Ifa Scheduling Order is entered by the Court prior to the date set for the
Sclieduling Conference, you will not be required to attend the Scheduling Conference.

However, if a proposed Scheduling Order is not timely submitted or is not
approved by the Court, the Scheduling Conference will be re-set and unrepresented parties and
lead trial counsel for each represented party will be required to appear in person

(Note: Out-of-town counsel may request permission from the Magistrate Judge to
handle the conference by telephone, provided the request is made within seven (?l days of the

numbers of all parties Any conference call for the Scheduling Conference must be initiated by
the office of counsel who is not personally appearing.) Failure to appear may result in the
imposition of sanctions See 1{ VHI.

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iv. INITIAL DISCLOSURE

FED. R. CIV. P. Rule 26(a)(l) & (2) and Rule 26()‘) will be enforcedl Therefore, in
accordance with FED. R.CIV. P. 26(f), the parties shall, at least 14 days prior to the Rule 16(b)
Scheduling Conference, meet for discussions in accordance with Rule 26(f) and for the purpose
of preparing a proposed discoveiy plan. The parties shall file a written report outlining the

CIV. P., for a checklist of items to be discussed at the Rule 26(f) meeting and included in the
written report. Moreover, within 10 days of the 26(f) meeting, the partiesl shall make disclosure
pursuant to Rule 26(a)(1) without formal discovery requests. Counsel are further advised that,
absent any agreement ofthe parties, no formal discovery demand may issue pending the meeting
under Rule 26({). Unless the parties stipulate otherwise, the number of interrogatories will be
limited to 25 in accordance with FED. R. Civ. P. 33, and the number of depositions will be
limited to lO in accordance with FED. R. Civ. P. 30.

v, REQUEST FOR EXEMPTION FROM RULE 26

Counsel or parties wishing to request that they not be required to comply with
provisions ofRule 26(a) or (f) of the Federal Rules of Civil Proceclure, must adhere to the
following procedure in making the request Requests are to be made by motion in writing in
compliance with local rules of this court. Requests for exemption from the disclosure provisions
of Rule 26(a) must be made at least 10 days before the date disclosure is required by the rule.
Requests for exemption from the Rule 26(f) meeting requirements must be made at least 7 days
before the date scheduled for the meeting or, if the parties have scheduled no meeting, at least 21
days before the date of the Scheduling Conference.

vi. SUBJECTS AT CONFERENCE
Generally, at the Scheduling Conference, the following subjects Will be addressed:

(a) The status of the case, the general nature of the claims and defenses, issues in the
case, and potential use of experts;

{b) Jurisdictional and statute of limitations issues (all jurisdictional questions of
timeliness questions should be reviewed in advance of the scheduling conference
and, if motions have not already been filed, the Court should be advised at the
Scheduling Conference that there are preliminary matters which require early
disposition);2

(c) Setting of all deadlines for filing preliminary motions, the establishment of all

 

ilEiccept for parties in pro se prisoner litigation.

2Simi`larly, questions of class certification qualified immunity, or conflict of interest should he raised at the
first possible occasion and no later than the initial Rule 16(b) Scheduling Conferencc.

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deadlines for discovery (including disclosure of expert witness infomiation where
appropriate), the establishment of final deadlines for filing pretrial motions
(including all motions for summary judgrnent), joining parties, amending
pleadings, the establishment of pretrial conference and trial dates, and the
establishment of any other appropriate deadlines The court expects to set a
definite trial date for this case which does not conflict with criminal case settings
The trial date will be consistent with the particular needs of this case and will be
no later than 18 months from the date of filing, unless the court certifies that the
court’s calendar does not so permit or the complexity of the case requires a later
setting;

The desire of the parties to consent to all further proceedings in the case being
handled by the Magistrate Judge in accordance with 28 U.S.C. § 636(€) (including
entry of final judgment, with any appeal directly to the Sixth Circuit Court of
Appeals);

The possibility of settlement, your position regarding settlement, and the desire of
the parties to utilize alternative dispute resolution, including the court-annexed
mediation program plan or private mediation;

Status of all document discovery (parties are encouraged to promptly exchange
core document information and, where necessary, to promptly issue requests for
production of documents and subpoenas duces tecum to third parties);

Any anticipated discovery problems (i.e., the necessity of protective orders, the
necessity of inspection of facilities, witness unavailability, delays which may be

occasioned because of an individual’s physical or mental condition, etc.);

Estimated trial time, and any special issues anticipated iii connection with trial;
and

Any pending motions or motions which may be raised orally at the conference
ORDER TO BE ENTERED

An Order will be entered reflecting the results of the Scheduling Conference. The

Order will include deadlines for filing motions and completing discovery The District Judge
assigned to the case will notify unrepresented parties or counsel of the date for the joint pretrial
order, the pretrial conference, if any, and the trial date. Attachecl as Exhibit “A” to this notice is
a Model Rule 16(b) Scheduling Order which counsel may use as a proposed order after
developing appropriate agreed-upon deadlines

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VIH. SANCTIONS FOR FAILURE TO APPEAR IF A PROPOSED SCHEDULING
ORDER IS NOT ENTER_ED AND THE SCHEDULING CONFERENCE IS
RE-SET

     

sATTES DISTRICT OURT- WETERNDISTCRIT OF ENNESSEE

 

UNIED

Notice of Distribution

This notice confirms a copy of` the document docketed as number 5 in
case 2:05-CV-02301 Was distributed by f`aX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Kirk A. Caravvay
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

l\/lemphis7 TN 38103

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

